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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

 CONNECTICUT FAIR HOUSING CENTER                          Case No. 3:18-705
 and
 CARMEN ARROYO, individually and as next
 friend for Mikhail Arroyo
                         Plaintiffs,
         v.


 CORELOGIC RENTAL PROPERTY
 SOLUTIONS, LLC
                         Defendant.
                                                          June 6, 2018


                                   NOTICE OF APPEARANCE

       To the Clerk of this Court and all parties of record: I am admitted or otherwise authorized

to practice in this court, and I appear in this case as counsel for the Plaintiffs, the Connecticut

Fair Housing Center and Carmen Arroyo, individually and as next friend for Mikhail Arroyo.



By Counsel:    /s/ Sarah White
               Sarah White (ct29329)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 6, 2018 a copy of the foregoing was filed and served
electronically. Notice of this filing will be sent by e-mail to all parties by operation of the court’s
electronic filing system or by mail to anyone unable to accept electronic filing as indicated on the
notice of Electronic Filing. Parties may access this filing through the court’s CM/ECF System.

                                                       By: /s/ Sarah White




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